                                 UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF NORTH CAROLINA
                                    So ~t,t.,(\ • DIVISION
                                    Misc. Case No. I; 2..L/-M.C - ;2 - K....S
                                                                                             FILED
 MARC COHODES, an individual,
                                                                                           JAN 16 2024
                Movant,
                                                                                       PETER A. MOORE, JR., CLERK
                                                                                        US DIS RICT COURT, EDNC
 v.                                                                                   BY_~(\l'\:.-llc::.::-DEP CLK

 RODDY BOYD, an individual,
                Respondent.
       MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL NON-PARTY
                 RODDY BOYD TO COMPLY WITH SUBPOENA
                Marc Cohodes submits this Memorandum of Law in support of his motion, pursuant to

 Federal Rule of Civil Procedure 45, to compel Roddy Boyd to produce certain documents

  relevant to Cohodes's claims in Cohodes v. MiMedx Group, Inc., et al., No. 3:22-CV-00368

  (N;D. Cal.) ("the California Litigation"). Boyd possesses documents relevant to proving the

  California Litigation defendants illegally recorded Cohodes's phone calls, because Boyd

  communicated directly with defendant Derrick Snowdy-who made the illegal recordings-

  about those events. Although Cohodes has diligently pursued discovery for over a year, he has

  been unable to obtain documents or forthright testimony from Snowdy. Cohodes has no choice

  but to move to compel Boyd to produce the materials.

  I.            STATEMENT OF THE CASE
                A.     The California Litigation
                Cohodes, a stock market analyst, short seller, and former hedge fund manager, has

  exposed many companies' questionable practices over his 40-year career. Declaration of Leah

  Judge ("Judge Deel."} Ex. A~ 1., Cohodes's efforts to expose two firms-Concordia Healthcare

  ("Concordia") and Mi+\tJ:edx Group, Inc. ("MiMedx")-give rise to the underlying California

-- Litigation.
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          Cohodes began building a short position in Concordia in late 2015 while publicly

 criticizing the company and its CEO. Ex. A 'ii 23. As Cohodes predicted, Concordia's share

 prices plummeted in 2016. Id. 'ii 26. Cohodes also became critical ofMiMedx in late 2017; in

 2020, MiMedx executives were convicted of securities fraud. Id. 'if'il 80, 104. Cohodes's

 criticism of Concordia and MiMedx earned him enemies, including Danny Guy, the sole owner

 of Harrington Global Opportunities Fund ("Harrington"). When Harrington lost approximately

 $150 million on its investment in Concordia, Guy blamed Cohodes and other short sellers for the

 loss. Id. 'if'il 4, 26.

          Guy hired Snowdy, a Canadian private investigator, to conduct surveillance and record

 phone calls of Guy's perceived enemies, including Cohodes. Ex. A 'ii 4. Using false pretenses-

 and an introduction from Respondent Roddy Boyd-Snowdy entered Cohodes's California home

 in late 2016, ingratiated himself with Cohodes, and illegally recorded Cohodes's phone calls for

- several years. Id. 'il'il 2, 8, 32-35. Guy and Snowdy then shopped these recordings and other

 improperly obtained information to a Canadian company, falsely claiming Cohodes was

 criminally conspiring to manipulate the company's shares and launder money. Id 'ii 4. Guy also

 introduced Snowdy to MiMedx-which then separately hired Snowdy to surveille Cohodes in

 early 2018. Id. 'ii 6.

           Cohodes discovered this history in 2021 when documents in two lawsuits were unsealed.

 Ex. A 'if 8. In January 2022, Cohodes sued MiMedx, Guy, and Snowdy for: (1) Violation of the

 California Invasion of Privacy Act; (2) Violation of the federal Wiretap Act; (3) Defamation; (4)

 False Light Invasion of Privacy; and (5) Trespass. After extended jurisdictional and general

 discovery, Cohodes filed an amended complaint in December 2023, adding Harrington as a

 defendant.



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        B.      Roddy Boyd
        Boyd, an acquaintance of Cohodes, is the editor and founder of the Foundation for

Financial Journalism. Ex. A 'if 31. At Snowdy's request, Boyd introduced Snowdy to Cohodes in

2016 (although Snowdy lied to Boyd about his intentions). Id. 'if 32.

        On May 12, 2021, after unsealed court documents revealed that Snowdy, Guy,

Harrington, and MiMedx had illegally surveilled and defamed Cohodes, Boyd published "Danny

Guy, Derrick Snowdy, and the Strange Wars of Confused Men." Judge Deel. Ex. B ("The May

2021 Article"). 1 The article described Snowdy's illegal recording of Cohodes's calls and

Snowdy and Guy's efforts to shop the recordings and other information about Cohodes to others.

Id. pp. 9-11.

        In the article, Boyd wrote that "[f]or six weeks" he had "been in frequent contact with

Snowdy about his work for Danny Guy." Id. p. 16. Boyd continued, "[q]uestions begat more

questions and Snowdy's response has never wavered. He insists that almost none of it

happened." Id. (emphasis added.) When clicked, the words "questions," "questions," and

"response" each link to screenshots of three emails between Boyd and Snowdy. Judge Deel. Exs.

C, D, E. In the emails, Boyd expressed skepticism of Snowdy's denials, alluded to text messages

exchanged with Snowdy, and appeared to attach emails between Guy and Snowdy. Exs. C, D.

Boyd also told Snowdy, "you wrote that you and [Guy] had gotten around California~ two-

party consent rule/or taping conversations." Ex. D (emphasis added).

        C.      The Boyd Subpoena




1 Available at https://flj-online.org/2021/05/12/danny-guy-derrick-snowdy-and-the-strange-wars-of-

confused-men/ (last visited Jan. 9, 2024).

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       Cohodes served Boyd with two document subpoenas. The first, dated August 23, 2022,

contained four requests seeking "all documents" in Boyd's possession "concerning" (1) Snowdy;

(2) Guy; (3) MiMedx; and (4) "the recording of electronic communications to which[] Cohodes

was a party." Judge Deel. Ex.Fat 7-8. Boyd objected and refused to produce documents,

invoking the reporter's privilege. Id. Ex. G at 2.

       After Cohodes had engaged in nearly a year of discovery in the California Litigation,

counsel for Cohodes and Boyd conferred on September 29, 2023. Judge Deel. ,r 16. Cohodes

offered to significantly narrow the subpoena, but Boyd indicated he would stand on his

objections. Id. Nonetheless, Cohodes served Boyd with a substantially narrowed subpoena on

October 11, 2023, that requested:

       NO. 1: All COMMUNICATIONS in YOUR possession between YOU and []
       Snowdy CONCERNING introducing[] Snowdy to[] Cohodes.
       NO. 2: All COMMUNICATIONS in YOUR possession between YOU and []
       Snowdy CONCERNING[] Snowdy's relationship with[] Guy.
       NO. 3: All COMMUNICATIONS in YOUR possession between YOU and []
       Snowdy CONCERNING [] Snowdy's relationship with [] MiMedx.
       NO. 4: All DOCUMENTS in YOUR possession [] CONCERNING [] Snowdy's
       recording of electronic communications to which [] Cohodes was a party.
       NO. 5: All DOCUMENTS in YOUR possession [] referenced or cited in YOUR
       May 12, 2021 article entitled "Danny Guy, Derrick Snowdy, and the Strange Wars
       of Confused Men."
Id. Ex H. Boyd again refused to produce documents, raising eleven objections including the

reporter's privilege and North Carolina's Shield Law. Id. Ex. I at 1-2.

       On October 26, 2023, counsel again conferred. Id. ,r 18. Boyd made clear that, on

principle, he does not respond to subpoenas absent a court order. Id.

        Cohodes now seeks to compel a further-narrowed production of only: (1) documents

responsive to RFPs 1, 2, and 4; and (2) documents responsive to RFP 5 only if they are (i)


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communications between Boyd and Snowdy or (ii) documents referenced in Boyd and Snowdy's

communications.


II.    ARGUMENT
       Cohodes's document requests fall into three categories: (1) documents that pre-date

Boyd's newsgathering activities; (2) documents Boyd's May 2021 Article displays or quotes in

whole or in part; and (3) documents not disclosed in the May 2021 Article. None of the

documents Cohodes requests are protected by the qualified reporter's privilege. Even if the

privilege protected any of the documents, Cohodes meets the showing LaRouche v. Nat'/ Broad

Co., 780 F.2d 1134 (4th Cir. 1986) requires to defeat the privilege.

       A.      The Qualified Reporter's Privilege and North Carolina's Shield Law Do Not
               Apply to RFP 1.
       RFP 1 seeks documents that pre-date Boyd's news gathering activities and thus must be

produced. The reporter's privilege applies to reporters only when they are engaged in

newsgathering activity. N.C. Gen. Stat.§ 8-53.ll(b) (qualified privilege covers "information,

document, or item obtained or prepared while acting as a journalist") (emphasis added); State v.

Demery, 1995 WL 564654, *1 (N.C. Super. Jan 26, 1995) ("[t]he qualified privilege applies to all

information acquired by a reporter in gathering the news") (emphasis added). Just as an attorney

cannot invoke attorney-client privilege to shield a communication that neither provides nor seeks

legal advice, a reporter cannot invoke the reporter's privilege to shield a communication

unrelated to newsgathering.

       Introducing Snowdy to Cohodes had nothing to do with newsgathering. As Boyd wrote

and Snowdy confirmed at deposition, Snowdy requested an introduction because he allegedly

shared Cohodes's skepticism of Concordia and Home Capital Group. Ex.Bat 18-20; Judge

Deel. Ex. J (Snowdy Transcript) at 110:3-14, 111:7-9. Although Snowdy simultaneously


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provided Boyd with information for a story on Canadian National Railway, the introduction had

nothing to do with that-or any-story. Ex. B at 18-20. Because Boyd was helping an

acquaintance, not newsgathering, he cannot establish that the reporter's privilege protects his

introduction-related communications with Snowdy. McCoy v. City of Columbia, 2012 WL

1752925, at *3 (D.S.C. May 16, 2012) ("[t]he burden of establishing entitlement to a privilege is

on [its] proponent").

       B.      The Remaining Documents Must Be Produced Under LaRouche.
       The remaining documents-both those published with the May 2021 Article and those

not-must be produced. "The First Amendment does not provide the press with an absolute

shield from legal process." Billioni v. Bryant, 2015 WL 13951127, at *2 (D.S.C. June 11, 2015).

Instead, evidence may be compelled from a reporter where: (1) it is relevant; (2) it cannot be

obtained by alternative means; and (3) there is a compelling interest in obtaining it. LaRouche,

780 F.2d at 1139; State ex rel. Cooper v. McLeod Oil Co., Ins., 2006 WL 2009079, at *2 (N.C.

Super. Jan. 24, 2006) (North Carolina test "is essentially the same" as LaRouche). All three

conditions are satisfied here.

               i.       The Documents Are Relevant to Cohodes's Claims.
       Relevant information "help[s] to prove or disprove the existence of a claim." Vengosh v.

Jacobs Eng'g Grp., Inc., 2020 WL 5709256, at *5 (E.D.N.C. Sept. 24, 2020) (citation omitted).

Cohodes's document requests seek information relevant to proving his privacy, wiretapping, and

trespass claims.

       RFP 4 seeks documents concerning Snowdy's recording of communications to which

Cohodes was a party-the heart of Cohodes 's privacy and wiretapping claims. If Boyd

possesses such documents-and his May 2021 Article links to a document in which Boyd

mentions Snowdy describing how he and Guy had "gotten around California~ two-party

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consent rule/or taping conversations," Ex. D (emphasis added)-these are relevant and must be

produced. Indeed, the document discussed in Exhibit D all but ·proves both Guy and Snowdy

illegally recorded Cohodes's calls. Similarly, communications between Snowdy and Boyd cited

or referenced in Boyd's May 2021 article (RFP 5, as modified above)-including exhibits C, D,

and E-are relevant and must be produced.

       Boyd's communications with Snowdy concerning Snowdy's relationship with Guy (RFP

2) will help establish an agency relationship, which underpins Guy's liability for Snowdy's

recordings. To date, both Guy and Snowdy have denied any arrangement to surveille Cohodes.

Judge Deel. Ex K (Guy Transcript) at 151:6-152:4; Ex. J. at 62:23-63:1. Any Boyd-Snowdy

communication bearing on the Guy-Snowdy agency relationship must be produced.

       Snowdy and Boyd's communications concerning Boyd's introduction (RFP 1) are not

subject to the reporter's privilege. But even if they were, they will show the lies Snowdy told to

induce Boyd to make the Cohodes connection. The communications support Cohodes's trespass

claim because Snowdy gained access to Cohodes's home through fraud. See People v. Oregon,

2016 WL 2859506, at *3 (Cal. Ct. App. May 11, 2016) (consent to a trespassory taking may be

"vitiated by fraud").


               ii.      The Documents Cannot Be Obtained from Snowdy.
       RFPs 1, 2, and 5 (as modified) seek communications between Snowdy and Boyd. "The

LaRouche test does not ask whether there is other evidence[] that the [litigant] might rely upon as

a substitute to prove [his claim]; it asks 'whether the information [sought from the reporter] can

be obtained by alternative means."' United States v. Sterling, 724 F.3d 482, 507 (4th Cir. 2013)

(quoting LaRouche, 780 F.2d at 1139) (emphasis and third set of brackets in original). Cohodes

can obtain the Boyd-Snowdy communications only from Boyd.


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        For more than a year, Coho des has sought documents from Snowdy through discovery.

Snowdy has not produced a single document. Judge Deel. at 1 21. Instead, Snowdy asserts "no

responsive records exist" because the allegations against him are "false," id Ex. L at 1 4, and his

"devices were replaced and [he] [has] no detailed historical records prior to [May 2019]," id Ex.

Mat 18. He has also asserted-incorrectly-that discovery is stayed as to him. See, e.g., N.D.

Cal. Case No. 3:22-CV-00368, Dkt. 112 (order confirming Magistrate's finding that no stay

exists as to Snowdy).

        Snowdy's deposition was similarly fruitless: questionable testimony, denials of the

authenticity of emails plainly bearing his email address, and refusals to unequivocally

authenticate the communications linked in Boyd's May 2021 Article (Exs. C, D, and E). See,

e.g., Ex. J at 197:9-200:23 Snowdy testified that Exhibit C "doesn't ring a bell;" that he had not

seen Exhibit D before and "certainly wouldn't have [a copy of it] after May of2019"; and that

while Exhibit E "looks like something he wrote," he was unsure ifhe had it and would '.'have to

check." Id. at 238:5-9, 241:2-9, 241:14-244:8. Snowdy has not produced these documents and,

given his history of obstruction in this case and others, 2 Cohodes has no expectation that he ever

will. This alone is sufficient to compel Boyd to produce them. See Billioni, 2015 WL 13951127,

at *3 (ordering production of emails between plaintiff and news station where plaintiff did not

produce them); Alexis v. Kamras, No. 3:19CV543, 2020 WL 2616705, at *6 (E.D. Va. May 22,




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  Snowdy has a history of interfering with discovery. In Canadian National Railway Company v. Holmes,
CV-08-7670-00CL (Superior Court of Justice - Ontario), a Canadian court found that Snowdy
deliberately and improperly obtained documents subject to a court confidentiality order. Judge Deel. Ex.
N. The court found that Snowdy falsely claimed he was unaware that the producing party sought the
documents' return, that he later admitted he was aware, and that he took "extraordinary efforts" to remove
the files from the jurisdiction, including taking the documents outside the Ontario courts' jurisdiction and
telling the producing party's lawyers he would "sanitize" the documents if ordered to return them. Id. at
4, 7.


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2020) (denying motion to quash subpoena where newspaper was "in sole possession" of

requested evidence). 3

       Regarding RFP 4, neither Snowdy nor Guy admitted at deposition to recording, or

directing the recording, ofCohodes's calls. See Ex.Kat 151:6-152:4; Ex. J at 62:23-63:1.

Cohodes has made diligent efforts to obtain the requested information elsewhere. See Penland v.

Long, 922 F. Supp. 1080, 1084 (W.D.N.C. 1995) (court "satisfied that the information sought

cannot reasonably be obtained by alternative means" even where movant did not depose witness

"who may have overheard the information sought"); compare State ex rel. Cooper, 2006 WL

2009079, at *2 (granting motion to quash subpoena where the "person with first hand

knowledge" had not been deposed). If Boyd possesses documents concerning Snowdy's

recording of Cohodes, he should be compelled to produce them.

                iii.     There Is a Compelling Need for Boyd's Documents.
       "The test for whether there is a compelling interest in disclosing a piece of evidence turns

on whether the evidence could play a role in the outcome in the proceedings." Alexis, 2020 WL

2616705, at *6 (internal quotation omitted); Billioni, 2015 WL 13951127, at *3.

        Cohodes's need is compelling for the same reason the documents are relevant: the

documents could help prove that Snowdy illegally recorded Cohodes while acting as Guy's

agent, and that Snowdy trespassed on Cohodes's property by gaining access through lies told to

Boyd. This is not mere speculation; Boyd's May 2021 Article,makes plain that he possesses

documents central to proving Cohodes's claims. Compare Hatjill v. New York Times Co., 242

F.R.D. 353,356 (E.D. Va. 2006) (finding no compelling need for reporter's notes where

requesting party did "not have a clear idea of what information [the] notes contain"). Boyd's


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 Boyd may assert the May 2021 Article itself provides the linked documents, but the Article cuts off the
d_ocuments' text and the documents are not self-authenticating. See Exs. C, D, and E.

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communications with Snowdy concerning Snowdy and Guy's evasion of California's two-party

consent rule "goes to the heart of the case." Miller v. Mecklenburg Cnty., 602 F. Supp. 675,679

(W.D.N.C. 1985).

       Moreover, the information sought from Boyd would not compromise the confidentiality

of Boyd's sources-the source is Snowdy. This can and should tip the balance in favor of

disclosure. See Miller, 602 F. Supp. at 680 ("The First Amendment protection against disclosure

of the name of a confidential source is stronger than the protection against disclosure of non-

confidential information revealed by that source.").

       C.      Any Burden, on Boyd Is Minimal.
       Boyd's counsel has represented that, should Boyd be compelled to respond to the

subpoena, the response would not entail a large volume of documents, and that collection would

not require an extensive ESI review. Judge Deel. at 119. Boyd's burden would be minimal, and

Cohodes will work cooperatively to reduce it further if possible.


III.   CONCLUSION
       Cohodes respectfully requests that the Court grant his motion tO' compel.


This the 16th day of January, 2024.           Respectfully s u b ~
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                                       ATTESTATION

       Consistent with Local Rule 7.2(f)(3), I hereby attest that this memorandum contains

2,768 words.


                                             ~~~
                                           /~/-efeorg~ F. Sanderson III




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was served on January 16, 2024 via
United States First Class Mail, and via electronic mail, on the respondent as follows:

               Eric David
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and that the foregoing was also served via United States First Class mail, or First Class Mail
International where indicated, on January 16, 2024 on the following parties to the California
Litigation:

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                             This the 16th day of January, 2024.

                                        c:---~~
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